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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



 COMMONWEALTH OF
 MASSACHUSETTS, et al.,

 Plaintiffs,
                                                     Civil Action No. 1:25-cv-10814-WGY
 v.

 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of Health and Human
 Services, et al.,

 Defendants.



 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al.,

 Plaintiffs,                                         Civil Action No. 1:25-cv-10787-WGY

 v.

 NATIONAL INSTITUTES OF HEALTH, et al.,

 Defendants.



                              NOTICE OF PRODUCTION

       Pursuant to this Court’s order, defendants have produced records to supplement the

Certified Administrative Record for phase one of the above-captioned proceedings. The

supplemental documents are described in the attached Designation and Certification of the

Administrative Record. This new production includes various documents that may contain

commercial information, but that defendants have not yet been able to review given the

expedited compilation. Defendants have therefore produced them by sending a box.com link to


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plaintiffs, and by delivering one paper copy of the entire production to chambers on June 13,

2025, and a second copy on June 16, 2025.


                                                  Respectfully submitted,

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                                                  LEAH B. FOLEY
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       Dated: June 13, 2025                       /s/ Thomas W. Ports, Jr.

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                                     CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

       Dated: June 13, 2025                                   /s/ Thomas W. Ports, Jr.
                                                              Thomas W. Ports, Jr.

                                                              /s/ Anuj Khetarpal
                                                              Anuj Khetarpal




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